  8:02-cr-00388-LSC-TDT           Doc # 128   Filed: 10/11/05    Page 1 of 1 - Page ID # 473



                        IN THE UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,                     )                   8:02CR388
                                              )
                     Plaintiff,               )
                                              )
       vs.                                    )                 AMENDED ORDER
                                              )
JARED D. ARPS,                                )
                                              )
                     Defendant.               )

       This matter is before the Court on the motion to withdraw filed by Assistant Federal
Public Defender Michael Maloney (Filing No. 122). Maloney seeks withdrawal due to a conflict
posed by Maloney’s recent appointment within the Federal Public Defender’s Office. The
Defendant is incarcerated and is eligible for appointment of counsel pursuant to the Criminal
Justice Act, 18 U.S.C. §3006A, and the Amended Criminal Justice Act Plan for the District of
Nebraska. The court finds that the motion should be granted and other counsel appointed.

       IT IS ORDERED:

     1.       The motion to withdraw filed by Assistant Federal Public Defender Michael
Maloney (Filing No. 122) is granted.

        2.     The Federal Public Defender for the District of Nebraska is appointed to forthwith
provide the Court with a draft appointment order (CJA Form 20) bearing the name and other
identifying information of the CJA Panel attorney identified in accordance with the Criminal
Justice Act Plan for this district.

       3.     Counsel's appointment herein is made pursuant to 18 U.S.C. § 3006A(f). At the
time of the entry of judgment herein, Defendant shall file a current and complete financial
statement to aid the Court in determining whether any portion of counsel's fees and expenses
should be reimbursed by Defendant.

       3.       The Clerk shall provide a copy of this order to the Federal Public Defender for
the District of Nebraska.

       DATED this 11th day of October, 2005.

                                                  BY THE COURT:

                                                  s/Laurie Smith Camp
                                                  United States District Judge
